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                         Exhibit 1
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Antibodies Are Made Up of Chains of Amino Acids
                                                                       Glycine . . . . . . .
                                                                       Alanine . . . . . . .
                                  Amino Acid Chain                     Serine . . . . . . . .
                                                                       Threonine . . . . .
                                                                       Cysteine . . . . . .
                                                                       Valine . . . . . . . . .
                                                                       Leucine . . . . . . .
                                                                       Isoleucine . . . . . .
                                                                       Methionine . . . .
                                                                       Proline . . . . . . . .
                                                                       Phenylalanine . .
                                                                       Tyrosine . . . . . . .
                                                                       Tryptophan . . . .
                                                                       Aspartic Acid . . .
                                                                       Glutamic Acid . .
                                                                       Asparagine . . . .
                                                                       Glutamine . . . . .
                                                                       Histidine . . . . . .
                                                                       Lysine . . . . . . . .
                                                                       Arginine . . . . . . .



                                                                                                  REM-DDTX1.15
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                         Exhibit 2
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Heavy Chain CDR3s
   Praluent®                                                            Repatha®




  DTX3160, Fig. 1                                                       DTX3075, Fig. 3JJ

                                Praluent®    D    S   N    W   G    N   F      D      L
                                (HC CDR3)

                                Repatha®
                                (HC CDR3)
                                             G    Y   G    - - -        M      D      V

                                                                                                        REM-DDTX1.38
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Are Amgen’s Antibodies Structurally Similar to the
Competitor Antibodies?                                    COMPETITOR ANTIBODIES



                                      Praluent        1D05                      AX132        J16
                                     (HC-CDR3)      (HC-CDR3)                 (HC-CDR3)   (HC-CDR3)
                     21B12             NO              NO                         NO        NO
                     31H4              NO              NO                         NO        NO
                     1A12              NO              NO                         NO        NO
                     9C9               NO              NO                         NO        NO
                     3B6               NO              NO                         NO        NO
                     9H6               NO              NO                         NO        NO
                     17C2              NO              NO                         NO        NO
                     23B5              NO              NO                         NO        NO
                     25A7              NO              NO                         NO        NO
                     30A4              NO              NO                         NO        NO
                     25G4              NO              NO                         NO        NO
                     27H5              NO              NO                         NO        NO
                     26H5              NO              NO                         NO        NO
                     31D1              NO              NO                         NO        NO
                     20D10             NO              NO                         NO        NO
                     27E7              NO              NO                         NO        NO
                     30B9              NO              NO                         NO        NO
                     19H9              NO              NO                         NO        NO
                     26E10             NO              NO                         NO        NO
                     23G1              NO              NO                         NO        NO
                     16F12             NO              NO                         NO        NO
                     22E2              NO              NO                         NO        NO
                     27A6              NO              NO                         NO        NO
                     28B12             NO              NO                         NO        NO
                     28D6              NO              NO                         NO        NO
                     31G11             NO              NO                         NO        NO




                                                                                                      REM-DDTX1.39
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                         Exhibit 3
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Antibodies That Fall Within the Scope of Amgen’s Patent Claims
                                                  Amgen Antibodies                                         Competitor Antibodies


           PCSK9




                                                                                                    Praluent




                                                                                                                       AX132
                     21B12
           Amino


                             31H4


                                     1A12




                                                                     17C2


                                                                            23B5


                                                                                   25A7


                                                                                            30A4




                                                                                                               1D05
                                            3B6


                                                    9C9


                                                            9H6




                                                                                                                               J16
           Acid

           S153        *

           I154
           P155
           R194
           R237                              --      --      --       --     --      --      --
           D238
           A239
           I369
           S372                                                                                                                    *

           D374        *

           C375                              --      --      --       --     --      --      --
           T377
           C378                              --      --      --       --     --      --      --
           F379
           V380
           S381

                   PCSK9 amino acid that binds to the antibody              -- Data not available
                                                                                                                                       REM-DDTX1.40
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                         Exhibit 4
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